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                           UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF TENNESSEE
                                 WESTERN DIVISION

CLARA FINCH CRUZ, M.D.                                                     PLAINTIFF


v.                                            CIVIL ACTION NO.: 2:18-cv-2483-JPM-tmp


ROBERT WILKIE, SECRETARY,
U.S. DEPARTMENT OF VETERANS AFFAIRS                                        DEFENDANT


                PLAINTIFF’S MOTION FOR A TWO-WEEK EXTENSION
                     OF THE EXPERT DISCLOSURE DEADLINES

        Plaintiff, Clara Finch Cruz, M.D., by and through the undersigned counsel, moves the

 Court, for a two-week extension of the Disclosure of Rule 26(a)(2) Expert information. Plaintiff

 provides the Court with the following facts and status:

        1.      This case was initially filed on July 18, 2018. (Doc 1).

        2.     A Scheduling Conference was held on October 26, 2018, where Attorneys Tressa

V. Johnson and Kristy L. Bennett appeared for the Plaintiff and Monica M. Simmons-Jones and

Stuart J. Canale appeared for the Defendant. (Doc. 23).

        3.     The Scheduling Order was entered on October 26, 2018. (Doc. 25).

        4.     The trial in this matter was set for September 16, 2019. (Doc. 24).

        5.     The Scheduling Order required FRCP 26(a)(1) Initial Disclosures to be served on

November 9, 2018. (Doc. 25).

        6.     The Scheduling Order required all related E-Communications to be turned over on

November 9, 2018. (Doc. 25).

        7.     The Parties exchanged initial disclosures on November 9, 2018.




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       8.      Following a shutdown of the federal government, an administrative stay was

entered on this case on December 28, 2018. (Misc. Case No. 2:mc-00051-STA; Doc 2)

       9.        On January 28, 2019, Chief Judge Thomas Anderson entered an Order lifting the

previously imposed stay on matters being handled by the United States Attorney’s Office and

further stating, “all current deadlines in civil cases affected by the previous Order shall be extended

for a period of time commensurate with the duration of the stay, 35 days.” (Misc. Case No. 2:mc-

00051-STA; Doc 15).

       10.     On February 22, 2019, the Plaintiff filed her Amended Complaint (Doc 30) to

include her termination pursuant to the Order of the Court during the scheduling conference on

October 26, 2018. (Doc 23).

       11.     On May 2, 2019, the Defendant filed its Answer to Amended Complaint. (Doc 49).

       12.     The subject matter of this case spans just over five years and will involve multiple

fact witnesses for both sides, expert testimony on the issue of damages and testimony from

Plaintiff’s treating physicians as necessary to establish any disputed fact as to Plaintiff’s disability

and/or disputed facts related to said claim, and extensive documents to be reviewed, especially

considering E-Communications and Electronically Stored Information (ESI).

       13.     On March 18, 2019, Judge J. McCalla entered the Amended Scheduling Order

extending the deadlines int his matter and resetting the Jury Trial to Monday, February 24, 2020

at 9:30AM. (Doc 34).

       14.     The deadline for disclosure of Rule 26(a)(2) experts in the Amended Scheduling

Order are July 31, 2019, for Plaintiff and September 3, 2019, for Defendant.




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       15.     Plaintiff initially retained the services of an economist in March 2019, but prior to

the expert being able to prepare a report, an unexpected personal issue arose and, on June 2, 2019,

the expert refunded Plaintiff’s retainer to allow her to obtain another expert.

       16.     Plaintiff retained the services of a new economist expert on June 13, 2019.

       17.     Both Parties have exchanged written discovery.

       18.     Plaintiff’s economist requires the paystubs for Plaintiff while employed by

Defendant in order to complete his expert report, which have been requested.

       19.     Defendant has worked to provide Plaintiff with the paystubs as quickly as possible

and paystubs are anticipated to be provided by Defendant within days.

       20.     On July 15, 2019, Plaintiff filed an unopposed Second Motion to Amend the

Scheduling Order and Reset Trial Date. (Doc 58).

       21.      On July 19, 2019, the Court set a status conference for Monday, July 29, 2019.

(Doc 59), which was reset to July 30, 2019 at 2:30 PM (Doc 61) to discuss the pending Second

Motion to Amend the Scheduling Order and Reset Trial Date. (Doc 58).

       22.     The Second Motion to Amend the Scheduling Order and Reset Trial Date (Doc 58)

would make the instant motion moot, however, out of an abundance of caution, Plaintiff files this

motion regarding the expert designation deadlines, only, seeking a two-week extension for the

Parties’ Rule 26(a)(2) designation deadline.

       23.     The extension would make Plaintiff’s 26(a)(2) designation deadline August 14,

2019, and Defendant’s 26(a)(2) designation deadline would be September 17, 2019.

       24.     The deadline for all discovery in this matter is October 4, 2019. (Doc 34).

       25.     Plaintiff does not make this request for the purpose of delay and the time this matter

is taking is unavoidable. The Parties have acted in good faith.



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        26.    Plaintiff has been unable to reach opposing counsel at the time of the filing of this

motion, however, as Defendant did not object to six months extension, it is doubtful that two weeks

for the expert designation would be objectionable.

        WHEREFORE PREMISES CONSIDERED, upon good faith belief and facts shown that

 Plaintiffs have established good cause for this Court to grant the Parties a two-week extension to

 serve their FRCP 26(a)(2) disclosures.

        This, the 29th day of July, 2019.



                                              Respectfully submitted,

                                             Clara Finch Cruz

                                             /s/ Kristy L. Bennett___
                                             Kristy L. Bennett BPR #30016
                                             Tressa V. Johnson BPR #26401
                                             JOHNSON AND BENNETT, PLLC
                                             1331 Union Avenue, Suite 1226
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                           CERTIFICATE OF CONSULTATION


       The undersigned, as counsel for the Plaintiff attempted to reach Defendant’s counsel

regarding the filing of the Plaintiff’s Motion for A Two-Week Extension of The Expert Disclosure

Deadlines, but that Plaintiff was unable to reach counsel at the time of the filing of the motion.

Defendant’s counsel did not object to a six-month extension, so Plaintiff’s counsel believes that

Defendant would be agreeable with a two-week extension of the expert designation deadlines in

this matter.

       This the 29th day of July, 2019.

                                                                   /s/ Kristy L. Bennett
                                                                   Kristy L. Bennett




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                                 CERTIFICATE OF SERVICE


       I, Tressa V. Johnson, one of the attorneys for the Plaintiff, do hereby certify that I have

this day served via ECF filing, email, or by United States mail, postage prepaid, a true and

correct copy of the above and foregoing document to the following counsel of record:


Monica M. Simmons-Jones
United States Attorney’s Office
167 North Main Street, Suite 800
Memphis, TN 38103
monica.simmons@usdoj.gov


       THIS the 29th day of July, 2019.




                                                                     /s/ Kristy L. Bennett
                                                                       Kristy L. Bennett




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